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United States Dlstrlct Court §
SOUTHERN DISTRICT OF TEXAS @&Vi"’ ,"
MCALLEN DIVISION
UNITED sTATEs 0F AMERiCA ' `
V_ - chMlNAL coMPLAlNT

Jesus Rod riguez-Rivas PRlNclPA/_ Mexico Case Number:

YoB: 1914 M_ls_ aug l
Bertha' A|icia Salazar-A|eman co-PRlNc/PAL Mexico

YOB: 1983
Jonathan Javier Ramirez-Alema\co-PR/NclPAL Mexico

YOB: 1995

(Name and Address ofDefendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. ()n or about August 6, 2018 in Hida|go L`Ounty, 111

the Southern District of Texas c defendants(s) did,
(Track Sratutory Language 0f0]7ense)

knowing or in reckless disregard of the fact that Jackeline Hirayi, a citizen and national of Guatemala, and
Miguel Angel Candia-Martinez, a citizen and national of Mexico, along with twenty-three (23) other
undocumented aliens, for a total of twenty-six (26), who had entered the United States in violation of law,
concealed, harbored or shielded from detection or attempt to concea|, harbor, or shield from detection such

aliens in any place, including any building or means of transportation, to-wit: a residence located in Edinburg,
Texas

in violation of Title 8 United States Code, Section(s) 1324(a)(1)(A)(iii) FELONY

l further state that l am a(n) Supervisory Border Patrol Agent and that this complaint is based on the
following facts:

On July 26, 2018, Border Patrol Agents obtained information from a detained undocumented alien regarding a house

used for alien smuggling The undocumented alien told agents he was kept at 16405 Hidalgo Street in Edinburg, Texas
for several days.

On August 6, 2018, Border Patrol Agents began surveillance on the residence Agents observed a male and female
depart the residence and travel to a bank and then a grocery store. At the store, agents observed the subjects purchase
large quantity of single items. After the subjects exited the store, agents approached the subjects and identified
themselves with the assistance of the Hidalgo County Constables Office (HCCO).

SEE ATTACHED

Continued on the attached sheet and made a part off laint: -Yes [:\ No
AWWW \ \\\V§
G./\,\r

Signature o\<nplainant
lan land Supervisory Border l>atro| Agent

 

 

 

Sworn to before me and subscribed in my presence, Printed Name of Complainant
August 7, 2018 /V‘ go /h-~ at McAllen,Texas
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Name and Tltle of Judicia| thcer Signature of Judlcial Ofilcer

Date CW&\L d
Peter E. Ormsby , U. S. Magistrate Judgg %'; ’M"“/;j

718-manassaserernrereeear@
SOUTHERN D|STR|CT OF TEXAS
McALLEN, TEXAS

ATTAcHMENT To chM\NAL coMPLA\NT:
M-1a-/(03 / -M

RE: Jesus Rodriguez-Rivas
` Bertha A|icia Sa|azar-Aleman
Jonathan Javier Ramirez-Aleman

CONT|NUATION:

The male subj ect, identified _as, Jesus Rodriguez-Rivas, and the female, identified as Bertha Alicia
' Salazar_-Aleman, were questioned regarding the information received concerning possible alien
smuggling Rodrlguez admltted to_ agents that he currently Was harboring 20 illegal aliens at his
house. Agents then performed an lmmi ation inspection on both sub`ects. Both Rodriguez and
Salazar Were found to be undocumente aliens, Both Rodriguez and §alazar Were read their rights
and placed under arrest.

Rodriguez provided verbal and written consent to search his house. Agents along with HCCO
searched the residence and discovered 27 undocumented subjects B'om various countries One of
these subjects was Jonathon Javier Ramirez-Aleman, vvho stated he was related to Rodriguez and
Salazar.

All the subjects were transported to the McAllen Border Patrol Station and processed accordingly

Principal Statements

Jesus Rodriguez-Rivas and Jonathon Javier Ramirez-Aleman were read their Miranda Rights. They

lunderstood their rights and provided a sworn statement.
last

Jesus Rodriguez-Rivas, a citizen of Mexico, stated he lives at 16405 Hidalgo Street in Edinburg,
Texas. He has lived at the residence for 3 months. He started harboring undocumented aliens
because he needed the money and Was being paid $150 USD per alien. In addition to harboring the
aliens, he would transport the undocumented aliens to the house after picking them up at a store.
Rodriguez claims that Salazar, his wife, and Ramirez; his nephew, occasionally picked up
undocumented aliens and brought them to the house. Rodriguez told the undocumented aliens not to
make noise and leave the house. Rodriguez would also take the aliens cellphones but returned them
when they left. '

Rodriguez identified Salazar, through a photo lineup, as being his wife, who occasionally picked up
undocumented aliens and provided food to the people.

Rodriguez identified Ramirez, through a photo lineup, as the person in charge of the house when he
and his Wife were not there.

Ramirez, a citizen of Mexico, stated he crossed illegally into the United Stat_es and Was going to
Houston, Texas. Ramirez claims that he was transported to the house where he was arrested.

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SOUTHERN D|STR|CT OF TEXAS
McALLEN, TEXAS

ATTAcHMENT To cRuquAL coMPLAiNT:
M-1a- /93( -M

RE: Jesus Rodriguez-Rivas
Bertha Alicia Sa|azar-Aleman
Jonathan Javier Ramirez-A|eman

CONT|NUAT|ON:

Ramirez told agents that Salazar and Rodriguez lived there. Ramirez claims that he was Waiting to
be smuggled to Houston. Salazar, his cousin, never talked to him about the aliens, but Ramirez
knew the house Was being used to harbor aliens from his observations Ramirez gave the
undocumented aliens food and Water. Ramirez admitted that he would also tell the people to stay

quiet, but was not in charge Ramirez never confronted Salazar about what was happening because
he was leaving

Bertha Alicia Salazar-Aleman was read her Miranda Rights. She declined to provide a sworn
statement.

MATERIAL WITNESSES STATEMENTS:

Jackeline Hirayi Delgado~Garcia and Miguel Angel Candia-Martinez were read their Miranda

_Rights. Both understood and agreed to provide a sworn statement. S(

Delgado, a citizen of Guatemala, stated her friend made the smuggling arrangements and was to pay
$l0,000 USD. She was smuggled into the United States on July 27, 2018 along with several other
subjects and transported by a male driver to a stash house. The driver instructed them to get out and
go inside the house. Delgado identified Rodriguez, through a photo lineup as the driver that
transported her to the stash house. Once inside the house, Delgado claims a female subject Was
waiting for her and wrote her name on a notebook. According to Delgado, the female Would also
feed them twice a day. Delgado identified Salazar, through a photo lineup, as the female subject who
provided food. Delgado hirther stated that another male subject took her cell phone away and
instructed her Where to sleep. Delgado claims this male subject Would instruct them not to make
noise or go outside. Delgado identified Ramirez, as the male subject who took her cell phone away
through a photo lineup.

Candia, a citizen of Mexico, stated he made the smuggling arrangements for $5,500 USD and has y
paid $2,000 USD. Aiter he crossed, he Was transported to the house where he Was arrested. Candia
identified Rodriguez, through a photo lineup, as the person in charge of the stash house and would
provide food.

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SOUTHERN D|STR|CT OF TEXAS
McALLEN, TEXAS

ATTACHMENT To cR\MlNAL coMPLAlNT:
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RE: Jesus Rodriguez-Rivas
Bertha Alicia Sa|azar-Aleman
Jonathan Javier Ramirez-Aleman

coNTlNuATioN':

According to Candia, Salazar wrote down his name on a notebook. Salazar also took his cell phone
and told him Where he could rest. Salazar also told aliens who was leaving the house. Salazar also
told him he was leaving this Saturday. Candia identified Salazar, through a photo lineup, also in
charge of the stash house and Rodriguez’ s wife.

Candia identified Ramirez, through a photo lineup. Candia stated that Ramirez would count the ,
aliens in the house to make food plates. Ramirez would also tell them to keep quiet and told them
he Would take the television away if they didn’t listen.

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